          Case 1:21-cv-11558-LTS Document 341 Filed 05/08/23 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA, ET AL.,

    Plaintiffs,

    v.
                                                            Civil Action No. 1:21-cv-11558-LTS
AMERICAN AIRLINES GROUP INC. and
JETBLUE AIRWAYS CORPORATION,

    Defendants.




         MOTION FOR PRO HAC VICE ADMISSION OF KATHERINE L. DACEY

         Pursuant to Rule 83.5.3 of the Local Rules of United States District Court for the

District of Massachusetts, the undersigned attorney, duly admitted to practice before this Court

and whose appearance has been filed in this action on behalf of non-party United Airlines, Inc.

(“United”) moves that attorney Katherine L. Dacey, Goodwin Procter LLP, 100 Northern

Avenue, Boston, Massachusetts 02210, be admitted to practice pro hac vice before this Court to

represent United as co-counsel in the above-captioned action.

         In support of this Motion, the undersigned attorney states that as evidenced in the

attached Certification (Exhibit A), Attorney Dacey is a member of the bar in good standing in

every jurisdiction where she has been admitted to practice, is not the subject of disciplinary

proceedings pending in any jurisdictions in which she is a member of the bar, has not

previously had a pro hac vice admission to this Court (or other admission for a limited purpose)

revoked for misconduct, and has read and agreed to comply with the Local Rules of the United

States District Court for the District of Massachusetts.



                                                  1
         Case 1:21-cv-11558-LTS Document 341 Filed 05/08/23 Page 2 of 4




       Attorney Dacey mistakenly believed that she had sought and obtained admission to the

bar of this Court shortly after she was admitted to the bar of the Supreme Judicial Court of

Massachusetts on July 30, 2020. Accordingly, Attorney Dacey filed a Notice of Appearance in

this action on September 19, 2022. (Doc. No. 185.) Attorney Dacey’s admission status was

discovered on May 4, 2023, and immediate corrective action was taken, including notification

to the Clerk’s office and preparation of her application for admission to the bar of this Court

which was submitted on May 5, 2023. During all relevant time periods Attorney Dacey has

met the requirements for admission to the bar of this Court.

       Counsel for United has conferred with counsel of record regarding the relief requested

in this motion and counsel does not oppose it.

       WHEREFORE, counsel for United respectfully request that the Court grant the

admission of attorney Katherine L. Dacey pro hac vice to the Bar of this court nunc pro tunc to

September 19, 2022.




                                                 2
        Case 1:21-cv-11558-LTS Document 341 Filed 05/08/23 Page 3 of 4




Dated: May 8, 2023                    /s/ John J. Falvey, Jr.
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                                      3
         Case 1:21-cv-11558-LTS Document 341 Filed 05/08/23 Page 4 of 4




       LOCAL RULE 7.1(a)(2) CERTIFICATE and CERTIFICATE OF SERVICE

       I hereby certify that counsel for United conferred with counsel for the parties regarding

the relief requested in the foregoing Motion for Pro Hac Vice Admission of Katherine L. Dacey

and counsel does not oppose the requested relief.


       I further certify that on May 8, 2023, I caused a true and correct copy of the foregoing to

be served by CM/ECF to the parties registered to the Court’s CM/ECF system.




                                                            /s/ John J. Falvey, Jr.
